                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO. 3:03CR220-6-V


UNITED STATES OF AMERICA                )
                                        )
                                        )
             vs.                        )             ORDER
                                        )
BOBBY LEE WATSON                        )
                                        )


      THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed July 24,2007,1 remanding this case for resentencing.

      IT IS, THEREFORE, ORDERED THAT:

      1)     This matter is hereby scheduled for resentencing on Monday, December

             3, 2007, in the Charlotte Division;

      2)     The United States Marshal is directed to return Defendant to the Western

             District of North Carolina on or before November 19, 2007; and

      3)     A copy of this Order shall be sent to the Defendant, Defense Counsel, United

             States Attorney, United States Marshall Service, United States Probation

             Office and Courtroom Deputy.



                                            Signed: September 17, 2007




      1
       The mandate issued August 17, 2007.
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